                 IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

 IN RE:                                      )
                                             )
 VALLEY LUMBER, COMPANY, INC.,               ) CASE NO. 17-72121-CRJ11
                                             )
      Debtor.                                ) CHAPTER 11




          FIRST AMENDED CHAPTER 11 PLAN OF REORGANIZATION OF
                  VALLEY LUMBER COMPANY, INC., DEBTOR
                       AND DEBTOR-IN-POSSESSION




                                      OCTOBER 9, 2018




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                 DEBTOR’S CHAPTER 11 PLAN OF REORGANIZATION
                           DATED SEPTEMBER 28, 2018

       In accordance with 11 U.S.C. § 1124, Valley Lumber Company, Inc., debtor-in-possession
("Debtor") in the above captioned Chapter 11 case, files this Plan of Reorganization dated October
9, 2018, (the "Plan"), in the United States Bankruptcy Court for the Northern District of Alabama,
Northern Division ("Bankruptcy Court" or "Court").

                                               I.
                                          DEFINITIONS

        The following terms shall have the following meanings unless the context otherwise
requires and, unless otherwise indicated, the singular shall include the plural. The definitions
contained in §§ 101 and 1101 of the Bankruptcy Code shall control unless different definitions are
stated herein, in which case the definitions as stated herein shall control for purposes of this Plan.

1.01   "Accounting Fees" means accounting and/or administrative management fees for
       preparing tax returns and other financial reports.

1.02   "Administrative Claim" means a claim for any cost or expense of administration of the
       Reorganization Case allowed under § 503(b) of the Bankruptcy Code, including without
       limitation any claim for the actual and necessary costs and expenses of preserving the
       Debtor' estate and all allowances of compensation or reimbursement of expenses to the
       extent allowed by the Bankruptcy Court.

1.03   "Allowed Amount" means the amount of any Allowed Claim.

1.04   "Allowed Claim" means:

       (a)     Any Claim in any Class:

               (i)     proof of which has been filed with the Bankruptcy Court prior to the Bar
                       Date, or which have been scheduled by the Debtor and not shown as
                       disputed, contingent, or unliquidated; and

               (ii)    to which no objection has been made within the Disclosure Statement or to
                       which no objection is filed within thirty (30) days of the date of the effective
                       date or which has been allowed by Final Order; or

       (b)     Any Administrative Claim for which a motion or fee application has been filed and
               approved by the Court.

1.05   "Allowed Secured Claim" means a claim that is both an Allowed Claim and a Secured
       Claim.

1.06   "Allowed Unsecured Claim" means a claim that is both an Allowed Claim and an
       Unsecured Claim.


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1.07   "Bankruptcy Code or Code" means Chapter 11 of Title 11, United States Code.

1.08   "Bankruptcy Court" or "Court" means the United States Bankruptcy Court for the
       Northern District of Alabama, Northern Division.

1.09   "Bankruptcy Rule" or "Bankruptcy Rules" means one or more of the Federal Rules of
       Bankruptcy Procedure.

1.10   "Bar Date" means the date established by the Court as the deadline for filing all Claims.
       Bar date for governmental claim holders in a Chapter 11 case is 180 days from the date of
       filing. Claims filed after the Bar Date, which are not otherwise Allowed Claims, will be
       disallowed and of no effect.

1.11   "Claim" means a claim or interest as defined by the Code.

1.12   "Class" means one of the classes of allowed claims or equity interests established by the
       Plan.

1.13   "Confirmation Date" means the date of the Confirmation Order becoming final.

1.14   "Confirmation Order" means the Final Non-Appealable Order of the Court determining
       that the Plan meets the requirements of the Bankruptcy Code and is entitled to
       confirmation.

1.15   "Court" means the United States Bankruptcy Court for the Northern District of
       Alabama, Northern Division.

1.16   "Debtor" means Valley Lumber Company, Inc.

1.17   "Disbursing Agent" means Steven M. Hammack and/or Roger Bedford.

1.18   "Effective Date" means thirty (30) days after the Confirmation Date.

1.19   "Filing Date" with respect to the Debtor means December 8, 2017, the date on which the
       case was commenced by the Debtor filing for relief under Chapter 11 of the Bankruptcy
       Code.

1.20   "Final Decree" means the Order entered by the Bankruptcy Court which closes the case.

1.21   "Final Order" means:

       A.     An order of the Court that has become conclusive of all matters adjudicated by such
              order and:

              (i)    that is not the subject of a pending appeal and for which the time to appeal
                     or seek review or rehearing of such order has expired, or

              (ii)   that is the subject of a pending appeal but has not been stayed or as to which
                     no supersedeas bond has been posted.

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1.22   "IRS" means the United States Treasury, Internal Revenue Service.

1.23   “Net Plan Profits” means net profits determined in accordance with generally accepted
       accounting principles consistently applied: (a) less administrative payments which are due
       on or before the date on which Net Plan Profits are being calculated; (b) less any payments
       required by this plan, which are due on or before the date on which Net Plan Profits are
       being calculated, other than payments out of Net Plan Profits.

1.24   "Plan" means this Plan of Reorganization and any subsequent amendments.

1.25   "Post-Petition" means the Filing Date and the period after the Filing Date.

1.26   "Pre-Petition" means the period preceding the Filing Date.

1.27   "Priority Claim" means those expenses and claims which may be provided for under 11
       U.S.C. Section 507 (a) (2), (3), (4), (5), (6), (7), (8) and (9) of the Code.

1.28   "Proponent" means Debtor.

1.29   "Pro-rata Share" means the same proportions that a given Allowed Claim within a Class
       bears to the total allowed claim of such class.

1.30   "Reorganization Case" with respect to the Debtor means the reorganization case under
       Chapter 11 of the Bankruptcy Code.

1.31   "Secured Claim" means a claim allowed as secured in the real or personal property of the
       Debtor.

1.32   "Unsecured Claim" means an allowed claim other than an Administrative Expense
       Claim, Priority Claim, or a Secured Claim.

                                  II.
          CLASSES AND CLASSIFICATIONS OF CLAIMS AND INTEREST

2.0    UNCLASSIFIED CLAIMS

       A.     Administrative Expense Claims. Administrative Expense Claims shall consist of
       all administrative expense claims of the Debtor’s Chapter 11 case as allowed pursuant to
       § 503(b) of the code and given priority in accordance with § 507(a)(1) of the Code. These
       claims are divided into the following sub-categories:

              (i)     Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm
              of Maples Law Firm, P.C., relating to the firm’s representation of the Debtor in
              Bankruptcy. These legal fees, if approved by the Court, shall constitute an
              Administrative Expense Claim which is unimpaired and shall be paid in full as of
              the Effective Date of the Plan.



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               (ii)    Tax Claims.

               (i)     The Allowed Tax Claims of the IRS.

2.01   UNIMPAIRED CLASSES

       All classes of claims are impaired under the Plan.

2.02   IMPAIRED CLASSES

       Class 1 – Allowed Secured Claims.

       Class 1(a): Allowed Secured Claims of Bank Independent

               Class 1(a)(i) shall consist of the Allowed Secured Claim No. 9 of Bank Independent
               $3,512,626.51.

               Class 1(a)(ii) shall consist of the Allowed Secured Claim No. 8 of Bank
               Independent in the amount of $201,834.86.

       Class 1(b): Allowed Secured Claim of CB&S

               Class 1(b) shall consist of the Allowed Secured Claim No. 26 of CB&S Bank in the
               amount of $1,515,998.30.

       Class 1(c): Allowed Secured Claim of De Lage Landen Financial Services

               Class 1(c) shall consist of the Allowed Secured Claim No. 16 of De Lage Landen
               Financial Services in the amount of $299,511.14.

       Class 2 – Allowed Unsecured Claims.

       Class 2 shall consist of the Allowed Unsecured Claims of all other unsecured creditors.

       Class 3 – Equity Interest Holders.

       Class 3 shall consist of the equity position of Steven D. Hammack and Roger Bedford in
       the Debtor. Hammack and Bedford shall retain their interest in the Debtor.

                                  III.
         IMPAIRMENT AND TREATMENT OF CLASSES UNDER THE PLAN

        The Plan will be summarized by incorporation of pertinent portions. Other provisions of
the Plan are extremely important, especially Article I, Definitions. The Plan should be read in full.




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3.0    TREATMENT OF UNCLASSIFIED CLAIMS

       A.      Administrative Expense Claims: This class shall consist of all administrative
       expense claims of the Debtor' Chapter 11 case as allowed pursuant to § 503(b) of the Code
       and given priority in accordance with § 507(a)(1) of the Code. This class is divided into
       the following sub-classes:

              Maples Law Firm, P.C.: Debtor has incurred legal fees with the law firm of
              Maples Law Firm, P.C. relating to the firm’s representation of the Debtor in
              Bankruptcy in the approximate amount of $46,000.00. It is anticipated that an
              additional $25,000-$30,000 will be incurred. These legal fees, if approved by the
              Court, shall constitute an Administrative Expense Claim which is unimpaired and
              shall be paid in full as of the Effective Date of the Plan.

       B.     Tax Claims:

              Internal Revenue Service: The Internal Revenue Service asserts a Priority Claim
              of $46,626.53. The Allowed Priority Claim of the IRS shall be paid over sixty (60)
              months after the Effective Date of the Plan.

3.01   TREATMENT OF IMPAIRED CLAIMS

       Classified Claims:

       Class 1 – Secured Claims.

              Class 1(a): Allowed Secured Claim of Bank Independent

               Class 1(a)(i) shall consist of the Allowed Secured Claim No. 9 of Bank Independent
       in the amount of $3,512,626.51 Class 1(a)(i) shall be amortized over two hundred forty
       (240) months and shall accrue interest at 4.0%. Class 1(a)(i) shall be based upon month
       equal monthly installments commencing sixty (60) days after the Effective Date of the
       Plan. Such payments shall be $21,285.83 per month until paid. All calculations of
       payments are subject to adjustment. This payment will be paid direct by the Debtor.
       Payments for months of December through March during the Plan will be deferred and
       spread equally over Plan months April through November. The actual payment shall be
       $31,928.75.

              Class 1(a)(ii) shall consist of the Allowed Secured Claim No. 8 of Bank
       Independent in the amount of $201,834.86. Class 1(a)(ii) shall be amortized over sixty
       (60) months and shall accrue interest at 5.25%. Class 1(a)(ii) shall be based upon month
       equal monthly installments commencing sixty (60) days after the Effective Date of the
       Plan. Such payments shall be $3,832.03 per month until paid. All calculations of payments
       are subject to adjustment. This payment will be paid direct by the Debtor. Payments for
       months of December through March during the Plan will be deferred and spread equally
       over Plan months April through November. The actual payment shall be $5,748.05.


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Class 1(b): Allowed Secured Claim of CB&S


              Class 1(b) shall consist of the Allowed Secured Claim No. 26 of CB&S Bank in the
      amount of $1,515,998.30 Class 1(b) shall be amortized over two hundred forty (240)
      months and shall accrue interest at 5.25%. Class 1(b) shall be based upon equal monthly
      installments commencing sixty (60) days after the Effective Date of the Plan. Such
      payments shall be $10,215.47, per month until paid. All calculations of payments are
      subject to adjustment. This payment will be paid direct by the Debtor. Payments for
      months of December through March during the Plan will be deferred and spread equally
      over plan months April through November. The actual payment shall be $15,323.21.

             Class 1(c): Allowed Secured Claim of De Lage Landen Financial Services

             Class 1(c) shall consist of the Allowed Secured Claim No. 16 of De Lage Landen
      Financial Services in the amount of $299,511.14. Class 1(c) shall be amortized over sixty
      (60) months and shall accrue interest at 5.25%. Class 1(c) shall be based upon equal
      monthly installments commencing sixty (60) days after the Effective Date of the Plan.
      Such payments shall be $5,686.51, per month until paid. All calculations of payments are
      subject to adjustment. This payment will be paid direct by the Debtor. Payments for
      months of December through March during the Plan will be deferred and spread equally
      over plan months April through November. The actual payment shall be $8,529.77.

      Class 2 - Allowed Unsecured Claims.

              Class 2 consists of the Allowed Unsecured Claims of all other unsecured creditors.
      The Allowed Unsecured Claims of the unsecured creditors will be paid from fifty percent
      (50%) of the Net Plan Profits (as defined in the Plan) of Debtor for five (5) years or until
      paid in full. This payment shall be calculated on an annual basis by March 15 of each Plan
      year, and paid by May 15 of each Plan year.

             Exhibit “B” attached to the Disclosure Statement shows the anticipated distribution
      upon this current total unsecured claim of $1,517,962.72. With a predicted five (5) year
      payout of $960,862.00, the estimated unsecured payout will be 63.3%.

              The remaining fifty percent (50%) of Net Plan Profits is reserved for taxes and
      capital needs during the Plan.

      Class 3 – Equity Interest Holders.

            Class 3 shall consist of the equity position of Steven D. Hammack and Roger
      Bedford in the Debtor. Hammack and Bedford shall retain their interest in the Debtor.




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                                       IV.
                    PROVISIONS FOR REJECTION AND ASSUMPTION
                            OF EXECUTORY CONTRACTS

        The Debtor assumes the lease with Valley Land Holdings, LLC. Pursuant to § 1123(b)(2)
of the Bankruptcy Code, except for those executory contracts and unexpired leases, if any, assumed
pursuant to the Plan or as to which the Debtor has filed prior to the Confirmation Date a motion to
assume and assign or a motion to reject, all executory contracts and unexpired leases to which the
Debtor is or was a party and not previously rejected or assumed and assigned pursuant to prior
order of the Bankruptcy Court, including, without limitation, all executive and employee
severance, vacation, benefit and retirement plans, contracts and agreements (including, but not
limited to all stay or retention programs, incentive plans, accelerated vesting plans, accelerated
benefit plans, and any other plan, agreement, contract or document relating to or providing for
payments to executives or employees not part of recurring salaries and wages), are deemed rejected
pursuant to § 364(a) of the Bankruptcy Code as of the Effective Date.

                                          V.
                            MEANS OF EXECUTION OF THE PLAN

5.01 Means of Implementation of the Plan. The Plan will be funded by the operations of the
Debtor. The changes implemented by the Debtor in reducing its fleet and creating a more efficient
delivery system should provide ample revenue to support the expenses contemplated going
forward.

5.02 Execution of All Documents. The Plan authorizes the Debtor to execute all documents
necessary to carry out the terms of the Plan.

5.03 Objections to Claims and Allowances. No payment or distribution shall be made to the
holder of a claim against which an objection has been filed within thirty (30) days after the
Effective Date until any such objection to a claim has been determined by Final Order of the Court.
Disputed and unliquidated claims shall be estimated for purposes of voting and unless the Court
orders otherwise, payments to holders of contested claims that are subsequently allowed shall be
made in accordance with the terms of the Plan. Contest of claims shall be filed with the Court no
later than sixty (60) days after the Effective Date.

5.04 Retention of Assets. Except as provided for in the Plan or in the order confirming the
Plan, on the Confirmation Date the Debtor shall be vested with all of the property of the estate and
shall retain all property rights free and clear of all liens, charges, and other interests of the creditors.

                                     VI.
                  MODIFICATION AND CONFIRMATION OF THE PLAN

6.01 Pre-Confirmation Modifications. Debtor may propose modifications hereof at any time
prior to Confirmation without leave of this Court, upon such notice as may be required by this
Court. If such modification is made after acceptance hereof, this Plan as so modified shall be
deemed accepted by all holders of claims and equity interests that have previously accepted this

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plan, provided that this Court finds that such modification would not materially and adversely
change the treatment of the holders of claims or equity interests that have not accepted such
modification in writing.


6.02   Post-Confirmation Modifications.

       (a)     Except as provided in Subsection (b) of this section, Debtor may modify this Plan
       after Confirmation only if this Court determines that this Plan as so modified meets all of
       the requirements for confirmation.

       (b)    Notwithstanding Subsection (a) of this section, the Debtor may modify this Plan
       during the period between the Confirmation Date and the "substantial consummation,"
       provided that this Court determines only that such modification does not materially and
       adversely change the treatment of claims or equity interests but merely remedies a defect
       or omission or reconciles an inconsistency in or between this Plan and/or the Confirmation
       Order in such manner as may be necessary to carry out the purposes and effect hereof.

6.03   Effect of Confirmation.

       (a)    Upon Confirmation, the provisions hereof shall bind the Debtor and each holder of
       a Claim whether or not (1) the Claim of such holder is impaired hereunder or (2) such
       holder has accepted this plan.

       (b)     Except as otherwise provided herein or in the Confirmation Order, Confirmation
       vests all of the property of the estate in Debtor, free and clear of all claims.

       (c)     Except as provided for in §1141(d)(5), Confirmation discharges the Debtor from
       any debt that arose before the Confirmation Date and any claim of a kind specified in
       Section(s) 502(g), 502(h), or 502(i) of the Bankruptcy Code, whether or not (1) a proof of
       claim is filed with respect thereto, (2) the debt appears in the schedules of liabilities filed
       by the Debtor, (3) the debt is allowed, or (4) the holder of such debt has accepted this Plan.

       (d)     Confirmation shall constitute approval or ratification by this Court of the
       assumption or rejection of the Debtor' executory contracts and unexpired leases pursuant
       to Section IV hereof.

       (e)     Confirmation shall constitute approval by this Court of all financing arrangements,
       leases, contracts, and other actions that the Debtor propose in the Disclosure Statement or
       herein, to enter into, make, or take in connection with implementation hereof, including the
       execution of any documents as of the Effective Date.

                                  VII.
              RETENTION, ENFORCEMENT AND WAIVER OF CLAIMS

7.01 Pursuant to § 1123 (b) (3) of the Code, the Debtor shall retain and may enforce any and all
claims of the Debtor except claims waived, relinquished, or released in accordance with the Plan.

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7.02 No party in interest except the Debtor shall maintain or commence an action to recover a
preference as defined in § 547 (b) of the Code after the Confirmation Order is entered.

7.03 Contests of Claims shall be filed with the Court not later than thirty (30) days after the
Effective Date.
JURISDICTION OF THE COURT


8.01 Continuing Jurisdiction. The Court shall retain and have exclusive jurisdiction over the
Reorganization Case for the following purposes:

       (a)    To determine any and all objections to the allowance of claims or interests;

       (b)    To determine any and all applications for allowances of compensation and
       reimbursement of expenses and any other fees and expenses authorized to be paid or
       reimbursed under the Bankruptcy Code or the Plan;

       (c)     To determine any applications or motions pending on the Effective Date for the
       rejection, assumption, or assumption and assignment of any executory contract and to hear
       and determine, and if need be, to liquidate any and all claims arising therefrom;

       (d)    To determine any and all applications, adversary proceedings, and contested
       matters that may be pending on the Effective Date;

       (e)    To consider any modification of this Plan, remedy any defect or omission or
       reconcile any inconsistency in any Order of the Court, to the extent authorized by the Court;

       (f)     To determine all controversies, suits, and disputes that may arise in connection with
       the interpretation, enforcement, or consummation of the Plan or that may involve or affect
       the value of assets of the Company administered by the Plan;

       (g)     To consider and act on the compromise and settlement of any claim against or cause
       of action by or against the Debtor arising under or in connection with the Plan;

       (h)    To issue such orders in aid of execution of the Plan to the extent authorized by
       § 1142 of the Bankruptcy Code;

       (i)    To determine such other matters as may be set forth in any order or orders
       confirming the Plan or which may arise in connection with the Plan or any other Order or
       Orders confirming the Plan.

                                       IX.
                             MISCELLANEOUS PROVISIONS

9.01 Prior Court Orders. All prior orders entered by the United States Bankruptcy Court for
the Northern District of Alabama are hereby incorporated by reference, including their terms,
conditions, benefits, requirements and obligations.

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9.02 Cramdown. With respect to any class not accepting the Plan, the Proponents do hereby
request confirmation of the Plan pursuant to § 1129(b) of the Bankruptcy Code on the grounds that
the Plan does not discriminate unfairly and is fair and equitable with respect to each class of claims
that are impaired.

9.03 Quarterly Fees. The Debtor will make their quarterly fees to the Bankruptcy
Administrator pursuant to 28 U.S.C. § 1930. Debtor will continue to make these payments as
required post-petition.

9.04 Compliance with Tax Requirements. In connection with the Plan, the Debtor will
comply with all withholding and reporting requirements imposed by federal, state and local taxing
authorities, and all distributions hereunder shall be subject to such withholding and reporting
requirements.

9.05 Retention of Liens. Each creditor whose claim is secured by a lien or mortgage on
property of the Debtor shall retain such lien or mortgage until such creditor’s claim is paid in full
according to the treatment proposed under the Plan at which time the lien shall be released.

9.06   Employment and Payment of Professionals.

       (a)     During the period between the Confirmation Date and the Effective Date, Debtor
       may (1) continue to avail itself of the services of professional persons whose employment
       was approved at or prior to Confirmation in completing the administration of this case and
       in the consummation and performance hereof, and (2) if necessary and with the approval
       of this Court, employ additional professional persons to render such services.

       (b)     With respect to services rendered and expenses incurred in or in connection with
       this case during such period by any such professional person, the professional person may
       render periodic billings therefore to the Debtor and the Debtor shall promptly pay the same,
       but each such payment shall be subject to review and approval by this Court as to the
       reasonableness thereof.

9.07 Notice of Hearing and Motions Post Confirmation. Upon confirmation of the Plan, all
of the motions, and applications for compensation to professionals, and notices of such hearings
shall be limited to the Debtor, Bankruptcy Administrator and any party of interest directly affected
by such motion or application.

9.08 Satisfaction of Claims. The rights afforded in this Plan shall be in exchange for and in
complete satisfaction, discharge, and release of all Allowed Claims, liens and encumbrances of
any nature whatsoever, including any interest accrued thereon from and after the Filing Date,
against the Debtor or any of their assets; and, except as otherwise provided herein, on
Confirmation, all such Allowed Claims against the Debtor or their assets, any other or further
Allowed Claim based upon any act or omission, transaction or other activity of any kind or nature
that occurred prior to Confirmation are satisfied, discharged and released.




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                                         X.
                                   CLOSING OF CASE

10.1 Procedure for Closing Case. If the Court concludes that a hearing on such motion would
be appropriate, such hearing shall be conducted upon notice only to the Debtor, the Bankruptcy
Estate Administrator, and persons specially requesting notices at the hearing on confirmation.

       Respectfully submitted October 9, 2018.

                                                   Debtor and Debtor-in-possession

                                                   VALLEY LUMBER, INC.

                                                   By: Roger Bedford
                                                   Its: Owner

                                                   /s/Roger Bedford
                                                   Roger Bedford

                                                   /s/ Stuart M. Maples
                                                   STUART M. MAPLES
                                                   (ASB-1974-S69S )

                                                   /s/ Mary Ena J. Heath
                                                   MARY ENA J. HEATH
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                                  CERTIFICATE OF SERVICE

        I do hereby certify that on October 9, 2018a copy of the foregoing document was served
on the following by Electronic Case Filing a copy of the same.

Richard Blythe
Bankruptcy Administrator
P.O. Box 3045
Decatur, AL 35602

All parties requesting notice

                                                     /s/ Stuart M. Maples
                                                     STUART M. MAPLES




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